                                                             4:18-cv-04063-SEM-TSH # 109-3                                    Page 1 of 3
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                                                                                                                                    Tuesday, 28 April, 2020 12:22:12 PM
                                                                                                                                          Clerk, U.S. District Court, ILCD




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         4.         y duties as a deacon are to serve during catholic mass and cammuniar~ as scheduled
                  by my lac~l pastrrr and assdst the tacat pester and ether services such as baptisms
                  marriages ar fi.~nerais as nded or requested.




                                                                                             EXHIBIT 3
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   19. I have never met, spoke with, nor had any religious car secular dealings with the plaintiff,
       Aaron O'Neal.

   20. I have nc~ knowledge of Aaron O'1`~eal's alleged discrimination, alleged request far a
       religious diet, or any grievance process related to the request and grievance.
   21. While we provide religious services such as participating in warship services and
       meetings, including Cursilla, I dc~ not eontral nor can make any decisions an who may ar
       may nat attend these services.

   22. Determination of whether any one particular inmate may attend a religious service is
       made by officials at that particular inmate's correctional facility.




I declare under penalty of penury that the foregoing is true and correct. Executed on Aprilr~,
Zara.                                                               -, 3 y ,,%       _ ,~-~
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